         Case 1:19-cv-11438-PBS Document 192 Filed 10/30/20 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

                 Plaintiff and Counterclaim
                 Defendant,
                                                      Case No. 1:19-CV-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

                 Defendant and Counterclaim
                 Plaintiff.



                 DECLARATION OF DANIEL S. STERNBERG
            IN SUPPORT OF OMILIA’S MOTION TO SUPPLEMENT
   ITS PRELIMINARY NON-INFRINGEMENT AND INVALIDITY CONTENTIONS

       I, Daniel S. Sternberg, declare:

       1.      I am an active member of the State Bar of Massachusetts and am admitted to

practice before the United States District Court for the District of Massachusetts. I am an associate

with the law firm of White & Case LLP, attorneys of record for Omilia Natural Language

Solutions, Ltd. (“Omilia”) in this action. I have personal knowledge of the facts stated in this

declaration and if called as a witness, I could and would competently testify about them.

       2.      Attached as Exhibit A is a true and correct copy of Omilia’s proposed Second

Supplemental Non-Infringement and Invalidity Contentions.

       3.      In preparing its early prior art contentions, Omilia commissioned two professional

prior art searches as well as additional prior art searches and review of the public prosecution

history files by counsel. However, the added prior art references were not located in either of those

searches.



                                                1
         Case 1:19-cv-11438-PBS Document 192 Filed 10/30/20 Page 2 of 3



        4.       On August 6, 2020, Omilia’s voice recognition technology consultant identified the

following two prior arts as relevant and notified Omilia of their relevance to the ’993 patent:

Helmer Strik, Modeling pronunciation variation for ASR: A survey of the literature, 1999, and

Florian Schiel, et al., Statistical Modelling of Pronunciation: It’s not the Model, It’s the Data,

1998.

        5.       On October 25, 2020, while Omilia was preparing its Second Supplemental

Contentions, its voice recognition technology consultant further located an additional prior art

reference, Jain, et al., Creating Speaker-Specific Phonetic Templates with a Speaker-Independent

Phonetic Recognizer: Implications for Voice Dialing, IEEE International Conference on

Acoustics, Speech, and Signal Processing Conference Proceedings, 881-884 (1996).

        6.       In addition, while Omilia was preparing its Second Supplemental Contentions and

reviewing Nuance’s response to Omilia’s Interrogatory No. 9, Omilia identified various additional

35 U.S.C. § 112 bases for invalidity based on Nuance’s interpretation of the claims and assertion

of infringement in response to Omilia’s Interrogatory No. 9.

        SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS 30TH day of

October, 2020.


                                              /s/ Daniel S. Sternberg
                                              Daniel S. Sternberg




                                              2
        Case 1:19-cv-11438-PBS Document 192 Filed 10/30/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on October 30, 2020, with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5.4 (c).

                                               /s/ Daniel S. Sternberg
                                                Daniel S. Sternberg




                                           3
